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 5
                           UNITED STATES DISTRICT COURT
 6
 7                      SOUTHERN DISTRICT OF CALIFORNIA

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 9   UNITED STATES OF AMERICA,                  M ag1s ra e ase o.:       · . J _: , ,'·', (•..J) .·
10                                              COMPLAINT FOR VIOLATION OF:
                  Plaintiff,
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                                                Title 18, U.S.C. § 2251(a) & § 2251(e)-
12         v.                                   Sexual Exploitation of a Minor
13
14   ROBERT ARNOLD KOESTER,
      a/k/a Bert Kay,
15
16                Defendant.
17
18         The undersigned Complainant, being duly sworn, states:

19                                            Count One

20         On or about September 1, 2018, within the Southern District of California,

21   defendant ROBERT ARNOLD KOESTER, did employ, use, persuade, induce, entice,

22   and coerce a minor, MVl, to engage in sexually explicit conduct for the purpose of

23   producing a visual depiction of such conduct, which visual depiction was produced
     using materials that had been mailed, shipped, and transported in and affecting
24
     interstate and foreign commerce by any means, including by computer; in violation of
25
     Title 18, United States Code, Sections 225l(a) and (e).
26
                                               Count 2
27
            On or about November 12, 2018, within the Southern District of California,
28
     defendant ROBERT ARNOLD KOESTER, did employ, use, persuade, induce, entice,
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 1   and coerce a minor, MV2, to engage in sexually explicit conduct for the purpose of
 2   producing a visual depiction of such conduct, which visual depiction was produced
 3   using materials that had been mailed, shipped, and transported in and affecting
 4   interstate and foreign commerce by any means, including by computer; in violation of
 5   Title 18, United States Code, Sections 2251(a) and (e).
 6          And the complainant states that this complaint is based on the attached Statement
 7   of Facts incorporated herein by reference.
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                                                                         JJMltAA"-Y, 2.0/9
12          Sworn to me and subscribed in my presence this .z~-'J day of :Osceffibcr, ~
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15                                         United States
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17                                    STATEMENT OF FACTS
18
           I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI)
19
     assigned to the San Diego, California office. I have been employed by the FBI as a SA
20
     since March 2009. I am currently assigned to the North County Resident Agency
21
     (NCRA) as the FBI Child Exploitation Task Force Coordinator for North San Diego
22
23 County. I am also assigned to the San Diego Internet Crimes Against Children (ICAC)
24 Task Force. This complaint is based on my own investigation and on information I
25 received from other law enforcement officers.
26       On or about November 13, 2018, a minor female (hereinafter MV2) and her

27 parents made a report to the Carlsbad Police Department (CPD) regarding Robert
28 Arnold KOESTER, who they knew as "Bert Kay." MV2 told CPD that on November
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     12, 2018, KOESTER took nude photographs of her during a photography session at a
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     condominium in Carlsbad, California, which is within the Southern District of
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     California. Prior to the photography session, MV2 inquired with KOESTER as to
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     whether such pictures would be illegal child pornography since she was not yet eighteen
 4
     years old. MV2 reported that KOESTER assured her that it would not be illegal as long
 5
 6 it was not a pornographic video. MV2 said KOESTER then photographed her in various
 7 stages of undress, including when she was naked. MV2 reported that KOESTER
 8 positioned her in several different ways, including positions in which her breasts,
 9 vagina, and anus were fully exposed to the camera. MV2 stated that Koester
10 photographed her in every pose. At one point, Koester placed his thumb over MV2' s
11 vagina. KOESTER also had MV2 pose with his fingers in her mouth and was smiling
12 as though it gave him pleasure. MV2 said KOESTER told her he was checking her gag
13 reflex. MV2 also reported KOESTER posed her in a pose in which KOESTER had his
14 hand around her neck. MV2 said KOESTER touched her neck, breasts, vagina,
15 buttocks, and anus with his hands during the photography session.
16         Upon receiving this information, the CPD obtained a sealed state search warrant

17 for KOESTER's rented condominium in Carlsbad, for all vehicles parked at or near the
18 premises which could be identified as being associated with that location, and for the
19 person of KOESTER. That same morning, officers from the CPD executed the search
20 warrant. Several items of evidence, including digital evidence, were seized pursuant to
21 the state search warrant.
22         That same day, KOESTER was contacted by CPD officers at his rented
23 condominium and was arrested without incident. KOESTER was transported to the
24 CPD and interviewed. KOESTER was advised of his rights under Miranda, did not have
25 any questions regarding his rights, and voluntarily spoke with CPD detectives.
26 KOESTER confirmed that he owns a residence in Oregon and traveled to California
27 regularly to photograph both adult and minor models. KOESTER admitted he was
28 photographing MV2 for modeling purposes. KOESTER said he met with MV2 on
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     November 12, 2018, at his short-term rental residence in Carlsbad. He said he took
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     hundreds of naked photographs of MV2 in various positions. KOESTER admitted to
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     touching MV2's vagina, anus, and breasts. Koester said he took nude photographs of
 3
     MV2 to prepare her for a future modeling career with Playboy. KOESTER said he posed
 4
     MV2 to sexualize her for photographs. KOESTER said he grabbed MV2's neck and
 5
     had her lick his finger while photographing her. KOESTER said that he sent MV2
 6
     images depicting nude photographs of other people so she would know the type of work
 7
 8 he did and to show her what they would be doing in photography sessions. KOESTER
 9 stated he took hundreds, if not thousands of nude photographs of MV2. KOESTER
10 admitted he had taken similar photographs with other minors over the past several years
11 of his photography career, some of which had been deleted. KOESTER argued that he
12 took nude photographs of underage models to get them comfortable with taking
13 pornographic photographs for their adult modeling careers.
14         After KOESTER's arrest, the media published various stories regarding

15 KOESTER's arrest and his affiliation with a local modeling agency. After seeing the
16 media coverage, on or about November 19, 2018, another minor female (hereinafter
17 "MVl ") and her parents made a report to the CPD regarding KOESTER. MVl told the
18 CPD that KOESTER had photographed her nude on several occasions, in locations
19 within the Southern District of California. MVl denied meeting with KOESTER in any
20 locations outside San Diego County. MVl reported that the most recent photography
21 session had taken place in or about September of 2018. MVl said KOESTER showed
22 her pictures of other models who were completely naked and told her he wanted to
23 photograph her naked for a book he was making. MVl said KOESTER photographed
24 her in various stages of undress, including when she was naked. MVl said KOESTER
25 touched her neck, breasts, vagina, and buttocks with his hands during the photography
26 sessions. MVl said KOESTER also digitally penetrated her vagina. MVl believed
27 KOESTER took photographs and videos of her with a camera and a cellular telephone.
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     MVl said KOESTER told her not to tell anyone because he did not want to get into
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     trouble because she was a minor.
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           On December 6, 2018, a federal search warrant was obtained for items of digital
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     evidence seized from KOESTER's rental condominium by the CPD. Pursuant to the
 4
     search warrant, I reviewed multiple digital files contained on said items of digital
 5
     evidence.
 6
           One of the items I reviewed was KOESTER's laptop, an Apple MacBook, the
 7
 8 components of which were primarily manufactured in China. On the laptop, I located
 9 several image and video files, which appeared to depict MVl engaged in sexually
10 explicit conduct, as defined in 18 U.S.C. § 2256. Two of the digital files are described
11 as follows:
12              a. IMG_ 4880.MOV-This video depicts an adult male penetrating MVl 's
                   vagina with his penis. MVl is laying on her back with a gray shirt on,
13                 but she is naked from the waist down. The male is holding MVl 's legs
14                 up toward her head. MVl appears to be unconscious and non-
                   respons1ve.
15              b. IMG_4881.MOV-As in IMG_4880.MOV, this video depicts an adult
16                 male penetrating MVl 's vagina with his penis. MVl is laying on her
                   back with a gray shirt on, but she is naked from the waist down. The
17                 male is holding MVl 's legs up toward her head. MVl appears to be
18                 unconscious and non-responsive.
     The metadata associated with these files indicated that they were each created on
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     September 1, 2018. Other still images were located with similar file names, which
20
     depicted MVl engaged in sexually explicit conduct. The metadata associated with those
21
     still images indicated that the images were created with an Apple iPhone. Thus, even
22
     though similar metadata for the video files was not observed, it is believed that the
23
     videos were also created with an Apple iPhone. Apple iPhones are not manufactured
24
     within the state of California and must be transported in interstate or foreign commerce
25
     to be used therein. Based on the statement ofMVl, indicating that she had not met with
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     KOESTER outside of San Diego County, it is believed these files were created within
27
     the Southern District of California.
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           During the course of the investigation, I also reviewed a memory card, which was
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     manufactured in China. On the memory card, I located several images and videos which
 2
     appeared to depict MV2 engaged in sexually explicit conduct, as defined in 18 U.S.C.
 3
     § 2256. Two of the digital files are described as follows:
 4
                a. JQ8A4846 - This image depicts MV2 laying on her back. MV2 is
 5
                   pulling her legs back towards her head. MV2 is naked and her genital
 6                 area is visible. A male's hand is on MV2's vagina with his thumb
                   touching her anus.
 7
                b. JQ8A5192 - This video depicts KOESTER clothed and sitting on a
 8                  chair. KOESTER instructs MV2, who is naked, to sit on his lap facing
 9                  away from him. KOESTER and MV2 are both facing the camera.
                   KOESTER moves his hands across MV2's body to include her breasts
10                 and genitals. KOESTER kisses MV2 's neck, then puts his hands on her
11                 neck and puts his fingers in her mouth. MV2 gags on KOESTER's
                   fingers and he laughs.
12   The metadata associated with these digital files indicated that they were each created
13 on November 12, 2018. The metadata for the still image indicated that the image file
14 was created with a Canon EOS 5D Mark III camera, which was manufactured in Japan.
15 Given the similarity in the file titles and the activity depicted in the still images and
16 videos, it is believed that the video was also created with the Canon camera. The
17 background depicted in the photos is consistent with MV2' s statements that the
18 depictions were created in KOESTER's rented condominium in Carlsbad, within the
19 Southern District of California.
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